    Case: 1:18-cv-03778 Document #: 1-1 Filed: 05/30/18 Page 1 of 5 PageID #:15




	
	
	
	
	
	
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Case: 1:18-cv-03778 Document #: 1-1 Filed: 05/30/18 Page 2 of 5 PageID #:16
Case: 1:18-cv-03778 Document #: 1-1 Filed: 05/30/18 Page 3 of 5 PageID #:17
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                      Case: 1:18-cv-03778 Document #: 1-1 Filed: 05/30/18 Page 4 of 5 PageID #:18
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Case: 1:18-cv-03778 Document #: 1-1 Filed: 05/30/18 Page 5 of 5 PageID #:19
